
In re Dyer, Ivory; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. H, No. 05-10-0382; to the Court of Appeal, First Circuit, No. 2011 KW 0869.
Granted for the sole purpose of remanding the case to the district court and ordering it to rule on the merits of relator’s pro se motion for bond reduction. See State v. Melon, 95-2209 (La.9/22/95), 660 So.2d 466, 467 (“[L]ower courts must ... accept and consider [pro se] filings from represented defendants in a pre-verdict context whenever doing so will not lead to confusion at trial”).
VICTORY, KNOLL and CLARK, JJ., would deny.
